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IN THE UNITED sTATEs DISTRICT COURT m 6_ 31
FOR THE WESTERN DISTRICT 01= TENNESSE{Y J““ 23 °

WESTERN DIVISION C:§§§j 1 UF{_S 36 1§1\_\1\& T

Wr ul OF n‘\' \.\\:MDH{S

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 05-20068 D AN
v.
ARIANE GRANT,

Defendant.

 

()RDER GRANTING MOTION TO TRANSFER FOR CONSOLIDATION

 

It appears to the Court that Defendant’s Motion for Consolidation is Well-taken.

ln the interest of judicial economy, IT IS THEREFORE ORDERED that Case Nos.: 05-
20072 Ml; 05-20073 MA; 05-20074 MA; and 05-20078 Ml will be transferred to Judge Bemice B.
Donald. The Clerk is directed to transfer all such cases, except for Case No. 05-20068 D AN, with

a view to consolidating such cases for disposition..

IT IS SO ORDERED this é‘;z day o ,.2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20068 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

ENNESSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Larry E. oCopeland

OZMENT COPELAND & HAYS
138 N. Third St.

2nd Floor

l\/lmephis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

